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                                                                                         FILED
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Newport News Division                              MAr 1 2 2C21

BRIAN GALE,

       Petitioner,

V.                                                   CRIMINAL ACTION NO.4:17-CR47

UNITED STATES OF AMERICA,

       Respondent.

                          MEMORANDUM OPINION AND ORDER

       Before the Court is Petitioner Brian Gale's ("Petitioner") Motion for Compassionate

Release. BCF Nos. 76, 80. For the reasons stated below, Petitioner's Motion is DENIED,

                       I. FACTUAL AND PROCEDURAL HISTORY

       On July 21, 2017, Petitioner pled guilty to a two-count criininal indictment, charging

Petitioner with interference with commerce by robbery(Count 1), in violation of 18 U.S.C.§ 1951,

and discharging a firearm in furtherance of a erime of violence(Count 2), in violation of 18 U.S.C.

§ 924(c). Both charges relate to Petitioner's involvement in an armed robbery of a Ricco's Pizza

on July 3, 2016 in Hampton, Virginia.

       On November 27, 2017, Petitioner was sentenced to 78-months imprisonment on Count 1

and 120-months imprisonment for Count 2. ECF No. 37. Each count was to be served

consecutively for a total of 198 months imprisonment. Id. ECF No. 37.

       On January 7, 2021, Petitioner filed a pro se Motion for Compassionate Release based

upon the ongoing COVID-19 pandemic. ECF No. 76. The Court then ordered appropriate

responses on January 15, 2021. ECF No. 77. Petitioner supplemented his Motion on February 12,

2021. ECF No. 80. The Government responded in opposition on March 8, 2021. ECF No. 85.



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Petitioner filed a reply on March 19, 2021. ECF No. 93. Accordingly, this matter is ripe for

disposition.

                                    11. LEGAL STANDARD


A. The Exhaustion Requirement

       A district court may modify a petitioner's sentence "after the defendant has fully exhausted

all administrative rights to appeal a failure of the Federal Bureau of Prisons ("BOP") to bring a

motion on the defendant's behalf or the lapse of 30 days from the receipt ofsuch a request by the

warden of the defendant's facility, whichever is earlier." 18 U.S.C. § 3582(c)(1)(A). Accordingly,

a petitioner seeking compassionate release is generally required to exhaust his or her administrative

remedies prior to bringing a motion before the district court. Id. Courts may; however, waive the

exhaustion requirement under exigent circumstances. Coieman v. Uniied Stales, 2020 WL

3039123, at *3-*4 (E.D. Va. June 4, 2020) (discussing the reasons "judicial waiver of the

exhaustion requirement is permissible in light ofthe extraordinary threat certain inmates face from

COVID-19").

B. The Compassionate Release Standard

       As amended by the FIRST STEP Act, a court may modify a term of imprisonment upon a

motion from the petitioner and after considering the factors set forth in 18 U.S.C. § 3553(a) if

"extraordinary and compelling reasons warrant such a reduction." 18 U.S.C. § 3582(c)(l)(A)(i).

Such "extraordinary and compelling reasons" were previously described by the United States

Sentencing Commission ("Sentencing Commission") in U.S.S.G. §1B1.13, Application Note 1.

Before the passage of the FIRST STEP Act, the Sentencing Commission provided that a sentence

may be modified in light of the petitioner's medical condition, age, or family circumstances.

U.S.S.G. §1B1.13, n. 1 (A)-(C). Additionally, the Sentencing Commission further defined the
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limits under which a sentence reduction may be given under those justifications. Id. The

Sentencing Commission also provided a "catch-all provision" that allowed for a sentence

modification upon a showing of an "extraordinary and compelling reason other than, or in

combination with, the reasons described in subdivisions(A)through (C)." Id. at n. 1 (D). Use of

the "catch-all provision" prior to the FIRST STEP Act was severely restricted because it required

approval from the Bureau ofPrisons before an individual could petition the district court for relief.

Id.


       However, U.S.S.G. §IB 1.13 is now outdated following the passage of the FIRST STEP

Act, which allows individuals to petition the district court directly without clearance from the

Bureau of Prisons. As such, U.S.S.G. §IB 1.13 is merely advisory and does not bind the Court's

application of§ 3582(c)(1)(A). McCoy v. United Stales, 981 F.3d 271 (4th Cir. 2020).

       Additionally, a petitioner's rehabilitation standing alone does not provide sufficient

grounds to warrant a sentence modification. 28 U.S.C. § 994(t). Instead, the Court may consider a

combination of factors, including — but not limited to — those listed in U.S.S.G. §IB 1.13, in

evaluating a petitioner's request for a sentence modification under 18 U.S.C. § 3582(c)(l)(A)(i).

                                        III. DISCUSSION


A. The Exhaustion Issue


       On July 9,2020, Petitioner submitted a request for"Home Confinement" to the Warden of

his correctional facility based upon Petitioner's comorbidities making him vulnerable to severe

illness from COVID-19. ECF No.76-1. Petitioner was denied relief on July 24,2021 but appealed

to the Regional Director on August 28, 2020. Id. Petitioner's appeal was subsequently denied on
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September 14, 2020. Id. Accordingly, Petitioner has met the exhaustion requirements under §

3582(c)(1)(A).'

B. Resolution of Petitioner's Request for Compassionate Release

         I. Consideration ofthe Factors Listed in 18 U.S.C.§3553(a)

         In its consideration of the factors listed in 18 U.S.C. § 3553(a), the Court notes that

Petitioner's offense conduct involved life-threatening unlawftil activity. Petitioner entered Ricco's

Pizza through an employee entrance while disguising himself with a mask and carrying a loaded

gun. ECF No. 78 at 5-7. During the robbery. Petitioner twice fired his weapon into the primary

customer counter. Id. Patrons of the store could have been injured or killed in light of Petitioner's

conduct. Id. Petitioner ended up stealing $1400 from the Ricco's Pizza and permanently damaged

the primary countertop. Id. Moreover, Petitioner has a Criminal History Category of VI and at the

time of this offense, Petitioner was on supervised release imposed by Hampton Circuit Court for

a possession of cocaine conviction. Id. at 16-20. Based upon the foregoing. Petitioner's offense

conduct strongly implicates the need for a sentence "to reflect the seriousness of the offense...and

to provide just punishment." 18 U.S.C. § 3553(a)(2)(A)-(B).

         To date. Petitioner has served approximately four years and four months—roughly 30%—

of his 198-month sentence. ECF No. 85 at 5. The Court recognizes that Petitioner has taken several

education courses and maintains community support from various individuals who believe

Petitioner is a changed man. ECF No. 80 at 15-16. However, after full consideration of the §

3553(a)factors, the Court concludes that the purposes of Petitioner's sentence remain unfulfilled.




' Despite Petitioner having met these requirements, this Court has previously held that the exhaustion requirement
within § 3582(c)(1)(A) may be waived in the midst of the COVID-19 pandemic. See supra Part 11.A; Coleman v.
United Stales, 2020 WL 3039123, at *3-*4 (E.D. Va. June 4, 2020). Accordingly, even if Petitioner's request for
"Home Confinement" did not meet the standard for a § 3582(c)(1)(A) request for compassionate release, this
requirement is hereby waived.
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        2. Evaluation of"Extraordinary and Compelling Reason"

        In evaluating whether an "extraordinary and compelling reason" for release based upon the

COVlD-19 pandemic has been established, the Court considers the severity of the ongoing

C0VID-I9 outbreak in federal prisons. See e.g. Wilson v. Williams, 2020 WL 2542131, at *1-2

(N.D. Ohio May 19,2020)(documenting the BOP's ineffective efforts to curtail the spread of the

virus within FCI Elkton). In this case. Petitioner is presently incarcerated at USP Terre Haute

which houses approximately 1,187 inmates. ECF No. 85 at 14. At this time, USP Terre Haute

oversees 661 inmates who were previously diagnosed with COVID-19.See C0VIDI9 Inmate Test

Information, BOP, https://www.bop.gov/coronavirus/. As the BOP continues to distribute its

allotment of COVlD-19 vaccines, USP Terre Haute has fully vaccinated a large portion of its

inmates,      including        Petitioner.        COVID-19      Vaccine   Implementation,      BOP,

https://www.bop.gov/coronavirus/; ECF No. 85 at 14-15. Moreover, USP Terre Haute has no

positive     COVID-19          diagnoses          at   this   time.   COVID-19     Cases,     BOP,

https://www.bop.gov/coronavirus/.

        Specific to each petitioner, the Court examines the Centers for Disease Control's list of

risk factors for severe COVID-19 complications when assessing compassionate release motions

during the pandemic. United States v. Lewellen,2020 WL 2615762,at *4(N.D. 111. May 22,2020).

Here, Petitioner proffers his weight, hypertension, and chronic kidney disease as underlying

conditions that may exacerbate a potential COVID-19 infection. ECF No. 80. The CDC does

indicate that being obese (BMI > 30 but < 40), having chronic kidney disease, or having

hypertension "can make you more likely to get severely ill from COVID-19."^ Despite Petitioner's


^ People with Certain Medical Conditions, CENTERS FOR DISEASE CONTROL AND PREVENTION (Apr. 29, 2021),
https://www.cdc.gOv/coronavirus/20i9-ncov/need-extra-precautions/peopIe-with-medical-
conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fneed-
extra-precautions%2Fgroups-at-higher-risk.html.
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ailments, the Court is unable to conclude that Petitioner presents an extraordinary and compelling

reason to warrant release from prison.

        The Court has examined Petitioner's medical records and notes that Petitioner has stage 3

chronic kidney disease, he has chronic lower back pain, hyperlipidemia, uncontrolled

hypertension, chronic depression and anxiety, and several additional ailments. ECF No. 90. The

Court also recognizes, however, that Petitioner has been fully vaccinated. ECF Nos. 85 and 93.

The CDC advises that upon vaccination, "[y]ou can gather indoors with fully vaccinated people

without wearing a mask or staying 6 feet apart," and "[y]ou can gather indoors with unvaccinated

people ofany age from one other household... without masks or staying 6 feet apart."' Moreover,

"COVID-19 vaccines are effective at preventing COVlD-19 disease, especially severe illness and

death." Id. With this information from the CDC and knowing that Petitioner is fully vaccinated

and in an environment in which many of the inmates within his facility are also vaccinated (and

continuing to be vaccinated), the Court cannot conclude that Petitioner's circumstances are so

extraordinary as to warrant release from incarceration.

        While the world continues to grapple with the pandemic, it is imperative to acknowledge

that many persons who are incarcerated suffer from a variety of ailments that may make them

susceptible to severe illness from a COVID-19 diagnosis. With the added protection ofa COVID-

 19 vaccine, vaccinated inmates with various comorbiditics are now better positioned against a

COVID-19 diagnosis than the inmates who were released prior to widespread accessibility to a

COVID-19 vaccine. As the Court continues to exercise its discretion in releasing the most

vulnerable inmates in light of the pandemic, the Court declines to release inmates who lack a

significant showing of potential fatality from a COVID-19 diagnosis, especially those that are fully


^ When You've Been Fully Vaccinated, CENTERS FOR DISEASE CONTROL AND PREVENTION (Apr. 27, 2021),
https://www.cdc.gov/coronavirus/2019-ncov/vaccines/fully-vaccinated.htmi.

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vaccinated. Based upon the foregoing reasoning, the Court is unable to find an extraordinary and

compelling reason for relief after considering the unfulfilled purposes of Petitioner's original

sentence.



                                     IV. CONCLUSION


       For the foregoing reasons, Petitioner's Motion is DENIED. The Clerk is DIRECTED to

provide a copy of this Order to the Petitioner, the United States Attorney, the United States

Probation Office, the Federal Bureau of Prisons, and the United States Marshals Service.

IT IS SO ORDERED.


Newport News, Virginia
May /^,2021
                                                               ;D STATES D        RICT JUDGE
